                       Case 3:12-cr-00038-HDM-VPC                Document 69        Filed 05/31/12RLEDPage 1 of 1                     u cEjw n
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                   '
                         UnitedStatesofAmerica                          )                                                                         '
                                    v.                                  )     CaseNo. 3:12-CR-0038-LRH-VPC
    '                      LEONEI ..A URBINA                            )                                .
                              '
                                                                        )                        .
                                  Depndant                              )                   .
                          .               O RD ER SCHEDULING A DETENTION HEARING                                      '


.               A detention hearing in thiscase is scheduled as follows:

        Place: United StatesDistrictCourt                                    Courtroom No.: Two
               400 S.Virginia St.                                                                  . .
               Reno,NV 89501                                                 Date andTime: 6/7/12 3:00 pm


                IT IS O RDERED: Pending the hearing,the defendantisto be detained in the custody oftheUnited States
        m arshalorany otherauthorized officer. The custodian m ustbring thedefendantto thù hearing atthe tim e,date,and
        placesetfol-thabove.                                                                            -




        oate:          05/31/2012                                                       *t%1t.-.-.              e(
                                                                                                 Judge'
                                                                                                      ssignature


                                                                                    W illiam G.Cobb,U.S.Magistrate Judge
                                                                                             Printed nameand title
